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                   EXHIBIT A
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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION
                                    www.flmb.uscourts.gov


 In re:
                                                          Case No. 2:20-bk-8071-FMD
 HARRIS PHARMACEUTICAL, INC.,

           Debtor,                                        Chapter 7


 AMY D. MAYER, as Subchapter V Trustee of
 the Estate of Harris Pharmaceutical, Inc.,               Adv. Pro. No. 2:23-ap-00009-FMD

          Plaintiff

 v.

 UNITED HEALTH GROUP,

          Defendant

 DECLARATION OF PAUL J. CIRILLO IN SUPPORT OF MOTION FOR SUMMARY
        JUDGMENT AND MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT

          I, PAUL J. CIRILLO, declare as follows:

          1.      I am over the age of eighteen (18) and believe in the obligations of an oath.

          2.      I am employed by United HealthCare Services, Inc., an affiliate of UnitedHealth

Group, Inc. (“United”), as Director of Credit and Delinquency Management. UnitedHealth Group,

Inc. is the ultimate parent company of UnitedHealthcare Insurance Company (“UHIC”) and

Neighborhood Health Partnership, Inc. (“NHPI”).

          3.      I make this declaration in support of United’s Motion for Summary Judgment and

Memorandum of Law in Support of Motion for Summary Judgment.

          4.      In my capacity as Director of Credit and Delinquency Management, I am one of

the custodians of the books, records and files of United that relate to, among other things, the

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business relationship between UHIC and NHPI, on the one hand, and Harris Pharmaceutical, Inc.

(the “Debtor”), on the other hand. I have personally worked on those books, records and files, and

as to the facts below, I know them to be true of my own knowledge or I have gained knowledge

of them from the business records of United, which were made at or about the time of the events

recorded, and which are maintained in the ordinary course of United’s business at or near the time

of the acts, conditions or events to which they relate. Any such document was prepared in the

ordinary course of United’s business by a person who had personal knowledge of the event being

recorded and had or has a business duty to record accurately such event. Such books and records

include Exhibits 1 through 61 annexed hereto. I make this declaration based on my personal

knowledge and based on the information contained in the foregoing books and records.

        5.       UHIC and NHPI are providers of, among other things, group dental, medical and

accidental death and dismemberment (“AD&D”) coverage to their customers’ eligible employees.

        6.       NHPI and the Debtor were parties to a group medical service policy with group

number 06Y8556 beginning in August 2018 (the “2018 Policy”) whereby NHPI provided medical

insurance benefits to the Debtor’s employees and such employees’ eligible dependents in exchange

for monthly premium payments. A true and accurate copy of the 2018 Policy is annexed hereto

as Exhibit 1.

        7.       UHIC and the Debtor were parties to a group dental policy and a group AD&D

policy, both with group number 06Y8556 and effective date of July 1, 2019 whereby UHIC

provided dental and AD&D benefits to the Debtor’s employees and such employees’ eligible




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  Exhibit 6, the Payment History Chart (as defined below), was made in the ordinary course of United’s business. The
lines titled “Pre-Preference Period” and “Preference Period” and the column titled “Days Paid” and the small chart at
the bottom of the chart with the median, average, and range, for the pre-preference period and preference period and
average invoice amount for the pre-preference period and preference period were created by counsel to United. Based
upon my review of these calculations, they are accurate.

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dependents in exchange for monthly premium payments (the “2019 United Policies”). True and

accurate copies of the 2019 United Policies are annexed hereto as Exhibit 2.

       8.       NHPI and the Debtor were parties to a group medical policy with a group number

06Y8556 with an effective date of July 1, 2019 that provided medical insurance benefits to the

Debtor’s employees and their eligible dependents in exchange for monthly premium payments (the

“2019 NHPI Policy”). A true and accurate copy of the 2019 NHPI Policy is annexed hereto as

Exhibit 3.

       9.       UHIC and the Debtor were parties to group policies with group numbers 06T8556

and 06L8672 with an effective date of July 1, 2020, where UHIC provided medical, dental, life,

and AD&D insurance benefits to the Debtor’s employees and their eligible dependents in exchange

for monthly premium payments (the “2020 United Policies”). True and accurate copies of the

2020 United Policies are annexed hereto as Exhibit 4.

       10.      NHPI and the Debtor were parties to a group medical policy with group number

06Y8556 with an effective date of July 1, 2020, where NHPI provided medical insurance benefits

to the Debtor’s employees and their eligible dependents in exchange for monthly premium

payments (the “2020 NHPI Policy”, collectively with the 2020 United Policies, the 2019 NHPI

Policy, , the 2019 United Policies, and the 2018 Policy, the “Policies”). A true and accurate copy

of the 2020 NHPI Policy is annexed hereto as Exhibit 5.

       11.      Under the Policies, monthly premium was due on the first of each month for that

month’s insurance coverage, subject to a thirty-one (31) day grace period (the “Grace Period”).

See Ex. 1, §§ 3.4 and 3.5; Ex. 2, Art. 3; Ex. 3, §§ 3.4 and 3.5; Ex. 4, Art. 3 and §§ 3.4 and 3.5; Ex.

5, §§ 3.4 and 3.5. Each of the Transfers were to pay premium under the 2020 United Policies and




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the 2020 NHPI Policy for the months of August, September and October 2020. During the months

of June through October 2020, the Policies covered at least five (5) employees.

       12.      From the inception of the Policies on August 1, 2018, through July 28, 2020 (the

“Pre-Preference Period”), the Debtor paid all monthly premium for the Policies between nine (9)

and twelve (12) days from the due date, without exception, and all within the contractual Grace

Period. On average during the Pre-Preference Period, the monthly premium invoices were paid in

full on average 10.1 days past the due date. During the Pre-Preference Period, the monthly

premium invoices were paid with a median of 10 days past the due date. In addition, all premium

payments for the Policies were made in full to United via electronic funds transfer from the

Debtor’s account. A true and accurate copy of the Payment History Chart is annexed hereto as

Exhibit 6.

       13.      From July 28, 2020 through October 28, 2020 (the “Preference Period”), the Debtor

paid all monthly premium invoices for the Policies between nine (9) and twelve (12) days from

the due date, without exception, and all within the contractual Grace Period. On average during

the Preference Period, the monthly premium invoices were paid in full on average 10.7 days past

the due date. Also, during the Preference Period, the monthly premium invoices were paid with a

median of 11 days past the due date. In addition, all premium for the Policies was paid in full to

United via electronic funds transfer from the Debtor’s account.

       14.      Throughout the Preference Period, UHIC and NHPI did not send any demand

letters, dunning letters, or similar correspondence; indeed, there was no need to as all invoices

were paid timely.




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